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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

                                                   Case No. 0:25-cv-00041 (JRT/DTS)

 COOKWARE SUSTAINABILITY
 ALLIANCE,
                                                PLAINTIFF’S AMENDED NOTICE
                Plaintiff,                     OF HEARING ON ITS MOTION FOR
                                                 A PRELIMINARY INJUNCTION
 v.                                             ENJOINING ENFORCEMENT OF
                                                   CERTAIN PROVISIONS OF
 KATRINA KESSLER, in her official                      AMARA’S LAW
 capacity as Commissioner of the
 MINNESOTA POLLUTION CONTROL
 AGENCY (MPCA),

                Defendant,




      Please take notice that Plaintiff Cookware Sustainability Alliance’s motion pursuant

to Federal Rule of Civil Procedure 65 for an order granting a preliminary injunction to

enjoin enforcement of Minn. Stat. § 116.943 will be heard before the Honorable John R.

Tunheim, Diane E. Murphy United States Courthouse, 300 South Fourth Street,

Minneapolis, Minnesota, on February 21, 2025 at 10:00 a.m. in Courtroom 14E.

Dated: January 22, 2025                  COZEN O’CONNOR

                                         /s/ Cassandra M. Jacobsen
                                         Cassandra M. Jacobsen (#0400120)
                                         cjacobsen@cozen.com
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                                         and
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                             Stephen Miller (PA 308590)
                             (admitted pro hac vice)
                             Andrew Linz (PA 324808)
                             (admitted pro hac vice)
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